                   Case 18-24057-RAM  Doc 33-1
                             UNITED STATES     Filed 08/27/19
                                           BANKRUPTCY   COURT Page 1 of 2
                                   SOUTHERN DISTRICT OF FLORIDA
                                              www.flsb.uscourts.gov
In Re:

Llunaisy Acanda                                            Case No: 18-24057-RAM
                                                           Chapter 13
             Debtors.
______________________________/

                  DEBTOR’S NOTICE OF COMPLIANCE WITH REQUIREMENTS FOR
                             AMENDING CREDITOR INFORMATION

This notice is being filed in accordance with Local Rules 1007-2(B), 1009-1(D), or 1019-1(B) upon the filing of an
amendment to the debtor’s lists, schedules or statements, pursuant to Bankruptcy Rules 1007, 1009, or 1019. I
certify that:

[X]      The paper filed adds creditor(s) as reflected on the attached list (include name and address of each
         creditor being added). I have:
         1.      remitted the required fee (unless the paper is a Bankruptcy Rule 1019(5) report);
         2.      provided the court with a supplemental matrix diskette containing only the added creditors or
                 electronically uploaded the added creditors in CM/ECF;
         3.      provided notice to affected parties, including service of a copy of this notice and
                 a copy of the §341 or post conversion meeting notice [Local Rule 1009-1(D)(2)]; and
         4.      filed an amended schedule(s) and summary of schedules.
[]       The paper filed deletes a creditor(s) as reflected on the attached list (include name and
         address of each creditor being deleted). I have:
         1.      remitted the required fee;
         2.      provided notice to affected parties and
         3.      filed an amended schedule(s) and summary of schedules.
[]       The paper filed corrects the name and/or address of a creditor(s) as reflected on the attached
         list. I have:
         1.      provided notice to affected parties, including service of a copy of this notice and a copy of the
                 §341 or post conversion meeting notice [Local Rule 1009-1(D)(2)] and
         2.      filed an amended schedule(s) or other paper.

[]       The paper filed corrects schedule D, E or F amount(s) or classification(s). I have:
         1.   remitted the required fee;
         2.   provided notice to affected parties and
         3.   filed an amended schedule(s) and summary of schedules.

[]       None of the above apply. The paper filed does not require an additional fee, a supplemental matrix, or
         notice to affected parties. It does X does not require the filing of an amended schedule and summary of
         schedules.

I also certify that, if required to be filed by the Bankruptcy Rules, the official form “Declaration Concerning
Debtor’s Schedules” has been signed by each debtor as required by Local Rules 1007-2(B), 1009-1(A)(2) and
(D)(1), or 1019-1(B) and, if filed electronically without imaged signatures, a local form “Declaration Under
Penalty of Perjury to Accompany Petitions, Schedules and Statements Filed Electronically” accompanied the
filing of the document.


                                                           Robert Sanchez, Esq.
                                                           355 West 49 Street
                                                           Hialeah, FL 33012
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                                                           By:      /sRobert Sanchez, .
                                                                    Robert Sanchez, Esq.
                                                                    Fla. Bar No. 0442161




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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                         www.flsb.uscourts.gov
In Re:

Llunaisy Acanda                                      Case No: 18-24057-
                                                     Chapter 13
             Debtors.
______________________________/


Please include the following creditor.

Jonmichael Zayas
Gregory S. Stark, Esq.
Todd Miner Law
915 Outer Rd
Orlando, FL 32814




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